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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL


  Case Nos. 2:18-cv-08518 RGK (AFMx)                                      Date: October 9, 2019
  Title     Covves, LLC v. Dillard’s, Inc., et al.



  Present: The Honorable:     ALEXANDER F. MacKINNON, U.S. Magistrate Judge


                  Ilene Bernal                                             N/A
                  Deputy Clerk                                    Court Reporter / Recorder

          Attorneys Present for Plaintiff:                 Attorneys Present for Defendants:
              Stephen C. McArthur                                 Morgan Nickerson


  Proceedings (In Chambers): ORDER (1) GRANTING IN PART/DENYING IN PART
                             PLAINTIFF’S MOTION TO COMPEL (ECF No. 89); and
                             (2) DENYING REQUEST FOR REASONABLE EXPENSES
                             (ECF No. 100)

         The parties have filed a joint stipulation concerning Plaintiff’s motion to compel
  production of documents and interrogatory answers (ECF No. 89), and each side has filed
  a supplemental brief (ECF Nos. 99, 100). On October 8, 2019, this matter came before
  the Court for a hearing. As set forth below, the Court grants in part and denies in part the
  motion to compel.

  1. Federal Rule of Civil Procedure 26(b)(1) provides that a party may obtain discovery
  “regarding any nonprivileged matter that is relevant to any party’s claim or defense and
  proportional to the needs of the case[.]” Factors to consider include “the importance of
  the issues at stake in the action, the amount in controversy, the parties’ relative access to
  relevant information, the parties’ resources, the importance of the discovery in resolving
  the issues, and whether the burden or expense of the proposed discovery outweighs its
  likely benefit.” Id. Discovery need not be admissible in evidence to be discoverable. Id.
  However, a court “must limit the frequency or extent of discovery otherwise allowed by
  [the Federal] rules” if “(i) the discovery sought is unreasonably cumulative or
  duplicative, or can be obtained from some other source that is more convenient, less
  burdensome, or less expensive; (ii) the party seeking discovery has had ample
  opportunity to obtain the information by discovery in the action; or (iii) the proposed

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  discovery is outside the scope permitted by Rule 26(b)(1).” Fed. R. Civ. P. 26(b)(2)(C).
  In response to requests for production, a party has an obligation under Fed. R. Civ. P. 34
  to produce non-objectionable, response documents within the party’s possession custody
  or control. Further, the Federal Rules of Civil Procedure must be “construed,
  administered, and employed by the court and the parties to secure the just, speedy, and
  inexpensive determination of every action and proceeding.” Fed. R. Civ. P. 1.

  2. Plaintiff seeks to compel Defendants to produce documents relating to Defendants’
  revenues and profits, as well as to answer interrogatories directed to profits and revenues
  of each Defendant. Plaintiff seeks these documents because they are relevant to the
  damages associated with the alleged infringement of the design patents in suit. See 35
  U.S.C. §289; Samsung Elecs. Co., Ltd. v. Apple Inc., 137 S.Ct. 429 (2016). Plaintiff also
  seeks documents on topics that it contends go to the Defendants’ alleged willfulness. See
  Halo Elecs., Inc. v Pulse Elecs., Inc., 136 S.Ct. 1923, 1933 (2016). Defendants respond
  to each of Plaintiff’s requests with objections that are generally boilerplate. Nevertheless,
  the thrust of these objections is that Plaintiff’s requests are not proportional to the needs
  of the case given the relatively small amount of alleged infringing sales at issue for each
  Defendant. While proportionality is an important consideration under Rule 26,
  Defendants’ arguments in this regard are somewhat general and at times lacking in
  specific facts. In addition, Defendants have not made persuasive arguments against the
  relevancy of requests going to revenue, profits and alleged willfulness.

  3. Having considered the requests at issue, Defendants’ responses and objections and
  the arguments of counsel, the Court orders Defendants to provide the following, which it
  finds to be relevant to the claims and defenses at issue and proportional to the needs of
  the case:

          (a) If not already produced, each Defendant shall produce documents that reflect
              its revenues from sales of the allegedly infringing products on a monthly or
              quarterly basis. Each Defendant shall also provide a sworn statement from a
              knowledgeable person at the company that shall authenticate the pertinent
              sales documents, verify that the documents come from the company’s regular

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              course of business reporting system, and confirm that the information
              reflected in the documents is complete, true and accurate for the reported
              period. Each Defendant shall further produce updated monthly or quarterly
              reports that present the most current sales data reasonably available to it.

          (b) If not already produced, each Defendant shall produce documents that reflect
              its profits from sales of the allegedly infringing products on a monthly or
              quarterly basis. Each Defendant shall also provide a sworn statement from a
              knowledgeable person at the company that shall authenticate the pertinent
              profit documents, verify that the documents come from the company’s regular
              course of business reporting system, and confirm that the information
              reflected in the documents is complete, true and accurate. Each Defendant
              shall further produce updated monthly or quarterly reports that present the
              most current profit data reasonably available to it. In addition, the sworn
              statement of the knowledgeable person shall include an explanation of how
              the profit amounts in the produced reports were calculated, with an
              identification of the costs/expenses that were deducted from revenue to arrive
              at the profit amounts.

          (c) Regarding documents relating to alleged willfulness, each Defendant (other
              than Target) shall identify three individuals at the company who by virtue of
              their positions would be reasonably likely to have documents related to
              Covves or the patents in suit – if the company were to have communications
              or documents concerning these topics. For each of the three identified
              individuals, Defendants shall run searches (using the search functionality of
              the pertinent email program) of the inbox, sent items, drafts, archive and
              deleted items in the individuals’ email accounts. The search terms to be used
              are “Covves,” the full patent numbers for the patents in suit, and the shortened
              patent numbers for the patents in suit. Defendants shall produce non-
              privileged responsive documents that are identified by these searches and shall
              list on a privilege log any responsive documents that are identified but
              withheld from production on the basis of attorney-client privilege or attorney

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             work product. Whether or not any responsive documents are identified and
             produced, Defendants shall inform Plaintiff of the names and positions of the
             three individuals at each company whose email accounts were searched. Both
             sides have acknowledged that Target previously conducted a search for
             responsive documents in this area, and therefore, the Court is excluding Target
             from this portion of the order.

  4. The discovery required by this order shall be completed by Defendants on or before
  October 15, 2019, which is the discovery cutoff date set by the District Judge.

  5. Plaintiff’s request for an award of reasonable expenses (including attorneys’ fees) is
  denied. The discovery requests originally served by Plaintiff were broader than the relief
  granted by the Court, and Plaintiff did not prevail on all of its arguments or on the full
  extent of the requests. Moreover, Defendants have already produced certain documents
  relating to revenue and profits, and its concerns regarding proportionality were not
  unfounded. In these circumstances, the Court finds that it would not be in the interests of
  justice to award reasonable expenses to Plaintiff in connection with the motion to compel.

          IT IS SO ORDERED.




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                                                                 Initials of Preparer      ib




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